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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,

v. Case No. 21-MJ-549-SH

LAURA KAY SAWYER,

Defendant.

Order Granting Writ of Habeas
Corpus Ad Prosequendum for Cause

Before the Court is the Petition for Writ of Habeas Corpus Ad Prosequendum for
Cause (Dkt. #3) filed herein by David A. Nasar, Assistant United States Attorney,
whereby it appears that Laura Kay Sawyer is defendant in a certain cause in this Court,
which is assigned for initial appearance, and his presence is required forthwith, and for
the duration of the above-styled matter. It further appearing that Laura Kay Sawyer is a
prisoner and confined in the David L. Moss Criminal Justice Center and is under the
control and in the charge and custody of the Sheriff Vic Regalado of said institution, and
it appearing that a Writ of Habeas Corpus Ad Prosequendum for Cause ought to issue.

IT IS THEREFORE ORDERED that the petition (Dkt. #3) is granted. A Writ
of Habeas Corpus Ad Prosequendum for Cause shall issue out of and under the seal of
this Court, directed to the Sheriff Vic Regalado of the David L. Moss Criminal Justice

Center commanding him to deliver the body of Laura Kay Sawyer to the United States
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Marshal for the Northern District of Oklahoma, or to a Deputy Marshal, or to any
federal law enforcement agent, upon delivery to said Sheriff Vic Regalado of said writ
for cause, and that the United States Marshal, deputy, or agent shall produce the body of
Laura Kay Sawyer to the United States District Court forthwith, in a certain cause
wherein the United States of America is plaintiff and Laura Kay Sawyer is defendant, and
that upon completion of the above-styled matter, the United States Marshal, deputy, or
agent shall return the body of Laura Kay Sawyer to the aforesaid Sheriff Vic Regalado.
Dated this Gm day of August, 2021.

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UNITEDATATES MAGISTRATE JUDGE

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